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                              United States District Court
                               Northern District of Texas
                                   Lubbock Division

     State of Texas,
          Plaintiff,

     v.

     United States Department of                    Civil Action No. ______
     Health and Human Services;
     Xavier Becerra, in his official capacity
     as Secretary of the United States
     Department of Health and Human Services;
     Melanie Fontes Rainer, in her
     official capacity as Director of the
     Department of Health and Human Services
     Office for Civil Rights,
              Defendants.


                                Texas’s Original Complaint

1.        Texas brings this action seeking declaratory and injunctive relief against enforcement of

two final rules issued by the United States Department of Health and Human Services.

2.        The first is entitled “Standards for Privacy of Individually Identifiable health

Information,” 65 Fed. Reg. 82,462 (December 28, 2000) (the “2000 Privacy Rule”) and became

effective in 2001. This lawsuit challenges the portion of the 2000 Privacy Rule that purports to

limit disclosures to State investigators (45 C.F.R. § 164.512(f)(1)(ii)(C)).

3.        The second is entitled “HIPAA Privacy Rule to Support Reproductive Health Care

Privacy,” 89 Fed. Reg. 32,976 (April 26, 2024) (the “2024 Privacy Rule”) and became effective

on June 25, 2024.

4.        Persons subject to the 2024 Privacy Rule must comply with its requirements by December

23, 2024.
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5.       As is relevant here, the final rules purport to limit the circumstances when a HIPAA

covered entity can share information with state officials and law enforcement. HIPAA covered

entities that share information with State investigators in contravention of these rules incur

criminal liability.

6.       But the HIPAA statute explicitly preserves State investigative authority, and thus, the rules

are contrary to the statute.

7.       Moreover, the HIPAA statute gives Defendants no authority to promulgate rules limiting

how regulated entities may share information with State governments.

8.       These rules significantly harm the State of Texas’s investigative abilities because covered

entities frequently cite the 2000 Privacy Rule as a reason they cannot comply with a valid

investigative subpoena for documents, and have already begun invoking the 2024 Privacy Rule for

similar purposes.

9.       The rules lack statutory authority and are arbitrary and capricious. As such, the Court

should vacate and set aside the rules and enjoin the enforcement of them.

                                          I.      Parties

10.      Plaintiff the State of Texas is a sovereign state of the United States.

11.      Defendant United States Department of Health and Human Services (“HHS”) is an

executive agency within the federal government of the United States.

12.      Defendant Xavier Becerra is the Secretary of HHS. He is sued in his official capacity.

13.      Defendant Melanie Fontes Rainer is the Director of HHS’s Office for Civil Rights. She is

sued in her official capacity.




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                               II.     Jurisdiction and Venue

14.    This Court has jurisdiction over this action pursuant to 5 U.S.C. § 702 and

28 U.S.C. § 1331. This Court has authority to grant the remedy Texas seeks pursuant to

28 U.S.C. §§ 2201 and 2202 and 5 U.S.C. § 706.

15.    Venue is proper in this district pursuant to 5 U.S.C. § 703 and 28 U.S.C. § 1391(e).

                                        III.    Background

A.     The Health Insurance Portability and Accountability Act of 1996 (HIPAA)

16.    HIPAA was enacted by Congress on August 21, 1996, to “improve portability and

continuity” and “simplify the administration of health insurance.” Pub. L. No. 104-191, 110 Stat.

1936, 1936 (1996).

17.    HIPAA criminalizes a medical provider’s act of sharing patient health information if done

“without authorization.” 42 U.S.C. § 1320d-6.

18.    HIPAA does not on its face affect a state law enforcement agency or a state official’s ability

to obtain patient health information.

19.    The HIPAA statute, in relevant part, contains fairly limited text. The operative provision

provides that:

       A person who knowingly and in violation of this part—

       (1) Uses or causes to be used a unique health identifier;
       (2) Obtains individually identifiable health information relating to an individual; or
       (3) Discloses individually identifiable health information to another person,

                 shall be punished as provided in subsection (b). For purposes of the
                 previous sentence, a person (including an employee or other
                 individual) shall be considered to have obtained or disclosed
                 individually identifiable health information in violation of this part if
                 the information is maintained by a covered entity (as defined in the
                 HIPAA privacy regulation described in section 1320d-9(b)(3) of this



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                title) and the individual obtained or disclosed such information
                without authorization.

        42 U.S.C. § 1320d-6 (emphasis added).

20.     The HIPAA statute provides that, “[g]enerally, a health care provider cannot disclose

[patient health] information ‘without authorization’ from the patient.” United States v. Wilson, 98

F.4th 1204, 1217 (10th Cir. 2014); see also Wilson v. UnitedHealthCare Ins., 27 F.4th 228, 245 (4th

Cir. 2022) (same).

21.     But the statute expressly preserves State investigative authority. Indeed, the statute says:

“Nothing in this part shall be construed to invalidate or limit the authority, power, or procedures

established under any law providing for the reporting of disease or injury, child abuse, birth, or

death, public health surveillance, or public health investigation or intervention.” 42 U.S.C.

§ 1320d-7(b).

22.     Congress specifically preserved State authority in the statute.

23.     Moreover, nothing in the HIPAA statute authorizes defendants to construe HIPAA’s bar

on disclosure “without authorization” to sweep in disclosures to a State government that are

provided pursuant to compulsory process, such as a subpoena.

B.      The 2000 Privacy Rule

24.     In 2000, HHS adopted Standards for Privacy of Individually Identifiable Health

Information (known as the “Privacy Rule” and referred to herein as the “2000 Privacy Rule”). 65

Fed. Reg. 82,462. The 2000 Privacy Rule “address[es] the use and disclosure of individuals’

health information”—called “protected health information” or PHI. 1



1
  Summary of the HIPAA Privacy Rule, HHS Office for Civil Rights (May 2023) at 1,
https://www.hhs.gov/sites/default/files/privacysummary.pdf


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25.    The 2000 Privacy Rule generally applies to regulated entities—“health plan[s],” “health

care clearinghouse[]s,” and certain “health care provider[s] who transmit[] . . . health information

in electronic form.” 45 C.F.R. § 160.102; see id. § 164.500.

26.    The 2000 Privacy Rule’s self-professed “major goal” “is to assure that individuals’ health

information is properly protected while allowing the flow of health information needed to provide

and promote high quality health care and to protect the public’s health and well being.” Summary

of the HIPAA Privacy Rule at 1.

27.    The 2000 Privacy Rule sets standards for using and disclosing PHI in certain circumstances

without an individual’s approval. These include disclosures: “for a law enforcement purpose to a

law enforcement official,” 45 C.F.R. § 164.512(f); “[i]n response to an order of a court” or “a

subpoena, discovery request, or other lawful process,” id. § 164.512(e)(1)(i), (ii); “to a health

oversight agency for oversight activities authorized by law, including audits; civil, administrative,

or criminal investigations; inspections; licensure or disciplinary actions; civil, administrative, or

criminal proceedings or actions; or other activities necessary for appropriate [health care]

oversight,” id. 164.512(d)(1); and to a “public health authority…for the purpose of preventing or

controlling disease, injury, or disability,” including “the conduct of public health surveillance,

public health investigations, and public health interventions,” id. § 164.512(b)(1)(i).

28.    But the 2000 Privacy Rule purports to limit the circumstances when a HIPAA covered

entity can share information with State law enforcement and State officials.

29.    As relevant here, a medical provider can share information in response to a State’s

administrative subpoena only if a three-part test is met.

30.    The three-part test requires that:




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       (1) The information sought is relevant and material to a legitimate law enforcement inquiry;
       (2) The request is specific and limited in scope to the extent reasonably practicable in light of
           the purpose for which the information is sought; and
       (3) De-identified information could not reasonably be used.

       45 C.F.R. § 164.512(f)(1)(ii)(C) (emphasis added).

31.    The HIPAA statute, by contrast, does not include any reference to a three-part test.

32.    Nor does it allow HHS to create such a test.

33.    In the rule’s preamble, HHS admits it has “limited jurisdiction conferred by HIPAA.” 65

Fed. Reg. 82,471. But the 2000 Privacy Rule’s preamble tellingly cites no statutory authority

supporting this provision of the rule.

34.    Indeed, in the Final Rule’s response to a comment, HHS admitted that the 2000 Privacy

Rule is purely a promulgation of what HHS deems to be good policy, not what Congress enacted.

Specifically, HHS said: “We designed the…three-part test to require proof that the government’s

interest in the health information was sufficiently important and sufficiently focused to the

outcome of the individual’s privacy interest. If the test were weakened or eliminated, the

individual’s privacy interest would be insufficiently protected.” 65 Fed. Reg. 82,683.

35.    It continues, “[a]t the same time, if the test were significantly more difficult to meet, law

enforcement’s ability to protect the public interest could be unduly compromised.” Id. (emphasis

added).

C.     The 2024 Privacy Rule

36.    On April 26, 2024, HHS published the 2024 Privacy Rule.

37.    HHS nakedly admitted that the 2024 Privacy Rule is a response to the “[t]he Supreme

Court’s decision in Dobbs [that] overturned Roe v. Wade and Planned Parenthood of Southeastern




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Pennsylvania v. Casey, thereby enabling states to significantly restrict access to abortion.” 89 Fed.

Reg. 32,987.

38.    HHS states that “[t]his change has also led to questions about both the current and future

lawfulness of other types of reproductive health care, and therefore, the ability of individuals to

access such health care. Thus, this shift may interfere with the longstanding expectations of

individuals, established by HIPAA and the Privacy Rule, with respect to the privacy of their PHI.”

Id.

39.    In other words, HHS has promulgated the 2024 Privacy Rule in order to obstruct States’

ability to enforce their own laws on abortion and other laws that HHS deems to fall under the rubric

of “reproductive health care.”

40.    HHS defines “reproductive health care” very broadly, including “health care…that

affects the health of an individual in all matters relating to the reproductive system and to its

functions and processing.” 45 C.F.R. § 160.103.

41.    In the rule’s preamble HHS specifies that “Reproductive Health Care” should be

“interpreted broadly and inclusive of all types of health care related to an individual’s reproductive

system” and that it “encompasses the full range of health care related to an individual’s

reproductive health.” 89 Fed. Reg. 33,005.

42.    And HHS “acknowledges that this final rule may affect certain state interests in obtaining

PHI to investigate potentially unlawful reproductive health care.” 89 Fed. Reg. 32,995.

43.    HHS states explicitly that the 2024 Privacy Rule should not be construed to “prevent

regulated entities from using or disclosing PHI for the purpose of defending themselves or others




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against allegations that they sought, obtained, provided, or facilitated reproductive health care that

was not lawful under the circumstances in which it was provided.” 89 Fed. Reg. 33,011.

44.     In other words, the rule allows for disclosure in a request for PHI to defend against a claim

or prosecution involving reproductive health care, but prevents disclosure in a request for PHI to

bring a claim or enforce a law.

45.     The term “Reproductive Health Care” is clearly meant to encompass abortion, hormone

and drug therapy for gender dysphoria, surgical procedures related to gender dysphoria, and

gender experimentation.

46.     The 2024 Privacy Rule prohibits a covered entity or business associate from disclosing PHI

where it will be used for any of the following activities:

            (1) To conduct a criminal, civil, or administrative investigation into any person for the
                mere act of seeking, obtaining, providing, or facilitating reproductive health care.
            (2) To impose criminal, civil, or administrative liability on any person for the mere act
                of seeking, obtaining, providing, or facilitating reproductive health care.

        45 C.F.R. § 164.502(a)(5)(iii)(A).

47.     In sum, the 2024 Privacy Rule restricts state officials and law enforcement from obtaining

evidence of a crime or other potential violation of state law.

48.     This prohibition applies “where the relevant activity is in connection with any person

seeking, obtaining, providing, or facilitating reproductive health care, and the covered entity or

business associate that received the request for protected health information has reasonably

determined that one or more of the following conditions exists:

            (1) The reproductive health care is lawful under the law of the state in which such
                health care is provided under the circumstances in which it is provided.
            (2) The reproductive health care is protected, required, or authorized by Federal law,
                including the United States Constitution, under the circumstances in which such
                health care is provided, regardless of the state in which it is provided.



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          45 C.F.R. § 164.502(a)(5)(iii)(B).

49.       By these terms, the covered entity itself determines if the “reproductive health care” it

furnished was lawful—and not the state officials tasked with enforcing the laws.

50.       HHS goes even further and adds that if the reproductive health care is “protected” or

“authorized” by Federal law, the PHI is prohibited from being disclosed.

51.       Moreover, the 2024 Privacy Rule then creates a presumption that reproductive health care

provided by another person is presumed lawful under (a)(5)(iii)(B)(1) or (2)—and so not subject

to investigation by a State—unless the covered entity or business associate has either:

              (1) Actual knowledge that the reproductive health care was not lawful under the
                  circumstances in which it was provided.
              (2) Factual information supplied by the person requesting the use or disclosure of
                  protected health information that demonstrates a substantial factual basis that the
                  reproductive health care was not lawful under the specific circumstances in which
                  it was provided.

      45 C.F.R. § 164.502(a)(5)(iii)(C)

52.       So, despite Congress going out of its way to preserve State investigative authority in the

HIPAA statute, HHS has sharply limited State investigative authority.

53.       Further, if a covered entity does not want to disclose PHI in response to Texas’s request,

they can simply “reasonably determine” that the reproductive health care was lawful and refuse

to disclose the information.

54.       The rule’s preamble emphasizes that determining whether reproductive health care is

“lawful” rests with the covered entity receiving the request (rather than the state officials charged

with enforcing state law) because “the interests of law enforcement…are outweighed by privacy

interests[.]” 89 Fed. Reg. 33,014.




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D.     The 2024 Privacy Rule’s “Attestation” Requirement.

55.    The 2024 Privacy Rule permits certain disclosures for law enforcement purposes only if

the conditions in 45 C.F.R. § 164.512(f)(1) to (6) are met. Those conditions are: (1) disclosure is

required by law, such as a court order, (2) disclosure in response to a law enforcement official’s

request for the purpose of identifying a suspect, fugitive, material witness, or missing, person, (3)

disclosure is response to a law enforcement official’s request about an individual that is the victim

of a crime, (4) disclosure to a law enforcement official about an individual who has died if the

covered entity has suspicion that the deal may have resulted from criminal conduct, (5) disclosure

to a law enforcement official if the covered entity believes in good faith that criminal conduct

occurred on the premises of the covered entity, and (6) disclosure to a law enforcement official if

the covered entity finds it is necessary to alert law enforcement to a potential crime.

56.    Throughout 45 C.F.R. § 164.512, the 2024 Privacy Rule repeatedly leaves discretion to the

covered entity to decide if PHI should be disclosed to law enforcement.

57.    The 2024 Privacy Rule adds § 164.509 entitled “Uses and disclosures for which an

attestation is required.”

58.    A covered entity or business association may not use or disclose PHI “potentially related

to reproductive health care” for any purpose, including to comply with a State law enforcement

investigation, without obtaining an attestation that is valid. 45 C.F.R. § 164.509(a).

59.    A valid attestation: (1) is a document that contains the required elements (discussed infra)

and (2) verifies that the use or disclosure is not otherwise prohibited by 164.502(a)(5)(iii). 45

C.F.R. § 164.509(b).




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60.    An attestation is defective if the document has any of the following defects: (1) lacks an

element or statement required by paragraph (c) of this section, (2) contains an element or

statement not required by paragraph (c) of this section, (3) is combined with any other document

except where the other document is needed to satisfy the requirements to be valid, (4) the covered

entity or business association has actual knowledge that the attestation is false, or (5) a reasonable

covered entity or business associate in the same position would not believe that the attestation is

true. 45 C.F.R. § 164.509(b)(2).

61.    The attestation must be written in plain language and must include the following elements:

(1) a description of the information requested that identifies the information in a specific fashion,

including the name of any individual whose PHI is sought or a description of the class of individuals

whose PHI is sought, (2) the name or other specific identification of the person, or class of persons,

who are requested to make the disclosure, (3) the name or other specific identification of the

person, or class of persons, to whom the covered entity is to make the requested disclosures, (4) a

clear statement that the use or disclosure is not a purpose prohibited under § 164.502(a)(5)(iii), (5)

a statement that a person may be subject to criminal penalties if that person knowingly and in

violation of HIPAA obtains individually identifiable health information relating to an individual or

discloses individually identifiable health information to another person, and (6) signature of the

person requesting the PHI. 45 C.F.R. § 164.509(c).

62.    In other words, covered entities cannot give State officials and law enforcement PHI in

response to a request, unless they provide the covered entity with an attestation, which must

contain elements that HHS arbitrarily decided are necessary.




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63.      A covered entity evaluates an attestation on pain of criminal penalty. If they guess wrong

about the validity of an attestation, then it is HHS’s view that the covered entity is subject to

criminal liability.

64.      And even if the State official or law enforcement official does provide an attestation, the

covered entity still may not provide a response to the request for any number of reasons, discussed

supra.

                                     IV.    Legal Analysis

A.       The Privacy Rule and the 2024 Privacy Rule violate the APA because they are
         contrary to statute and exceed the authority granted by Congress.

65.      The Final Rules exceed HHS’s statutory authority and therefore are invalid.

66.      Defendant HHS is an agency subject to the Administrative Procedure Act (“APA”).

67.      Under the APA, courts must “hold unlawful and set aside agency action” that is “not in

accordance with law” or “in excess of statutory . . . authority[] or limitations, or short of statutory

right.” 5 U.S.C. § 706(2)(A), (C).

68.      “[A]n agency literally has no power to act … unless and until Congress confers power upon

it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986).

69.      “[O]ur system does not permit agencies to act unlawfully even in pursuit of desirable

ends.” Ala. Ass’n of Realtors v. Dep’t of Health & Human Servs., 594 U.S. 758, 766 (2021).

70.      “As a general rule of statutory construction, where terms of the statute are unambiguous,

judicial inquiry is complete.” Adams Fruit Co. v. Barrett, 494 U.S. 638, 642 (1990).

71.      As an agency, HHS may not impose requirements contrary to and in excess of HIPAA.

72.      No text in HIPAA authorizes HHS to limit the documents that medical providers may

produce to a State law enforcement agency.



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73.    Moreover HIPAA is clear when it comes to State authority. It says: “Nothing in this part

[unauthorized disclosures] shall be construed to invalidate or limit the authority, power, or

procedures established under any law providing for the reporting of disease or injury, child abuse,

birth, or death, public health surveillance, or public health investigation or intervention.” 42

U.S.C. § 1320d-7(b).

74.    Thus, Congress went out of its way to preserve State authority in the statute.

75.    In promulgating the 2000 Privacy Rule, the preamble does not contain a statutory authority

argument.

76.    And in promulgating the 2024 Privacy Rule, HHS points out that HIPAA directed it to

promulgate rules, but does not point to any specific authority allowing it to promulgate this rule

because it cannot.

77.    Because HHS has not and cannot point to any authority that allows it to promulgate the

2000 Privacy Rule or the 2024 Privacy Rule, the rules violate the APA.

B.     The 2000 Privacy Rule and the 2024 Privacy Rule violate the APA because they are
       arbitrary and capricious.

78.    Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

79.    The APA’s arbitrary-and-capricious standard requires that agency action be “reasonable

and reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021)).

80.    HHS has failed to reasonably explain the three-part test in the 2000 Privacy Rule. 45 C.F.R.

§ 164.512(f)(1)(ii)(C).




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81.    HHS has failed to reasonably explain the prohibitions on disclosure in the 2024 Privacy

Rule. 45 C.F.R. § 164.502(a)(5)(iii).

82.    HHS has failed to reasonably explain the presumption that any reproductive health care is

lawful. 45 C.F.R. § 164.522(a)(5)(iii)(C).

83.    HHS has failed to reasonably explain the attestation requirements. 45 C.F.R. § 164.509.

84.    Because HHS has failed to reasonably explain the 2000 Privacy Rule and the 2024 Privacy

Rule, the rules are arbitrary and capricious.

                                    V.       Harm to Texas

85.    The 2000 Privacy Rule harms Texas’s investigative abilities because covered entities in

receipt of an administrative subpoena will frequently cite the rule as the reason they cannot comply

with the subpoena.

86.    Texas is entitled to responses to its administrative subpoenas and is therefore harmed by

the 2000 Privacy Rule.

87.    The 2024 Privacy Rule has already harmed Texas’s investigative abilities, as well.

88.    In at least one instance, a covered entity has cited the 2024 Privacy Rule as a reason it

cannot comply with Texas’s subpoena.

89.    Texas is entitled to a response to its administrative subpoena and is therefore harmed by

the 2024 Privacy Rule.

                                 VI.     Claims for Relief

                                        COUNT 1
                         Violation of APA, 5 U.S.C. § 706(2)(C):
               Agency Action In Excess of Statutory Jurisdiction or Authority

90.    All foregoing allegations are repeated and realleged as if fully set forth herein.




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91.    The final rules challenged herein constitute “agency action” pursuant to 5 U.S.C.

§ 551(13) for purposes of review under the APA, 5 U.S.C. § 702.

92.    The final rules exceed HHS’s statutory authority and therefore violate the APA, 5 U.S.C.

§ 706(2)(C).

93.    Under the APA, a court shall “hold unlawful and set aside agency action, findings, and

conclusions found to be … in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(C).

94.    Defendants may only exercise the authority conferred upon them by statute and may not

legislate through regulation in order to implement the perceived intent of Congress or purported

congressional purpose behind HIPAA.

95.    The final rules are in excess of the authority Congress granted to HHS and are therefore in

violation of the APA, 5 U.S.C. § 706(2)(C).

                                        COUNT 2
                         Violation of APA, 5 U.S.C. § 706(2)(A):
          Arbitrary, Capricious, Abuse of Discretion, Not in Accordance with Law

96.    All foregoing allegations are repeated and realleged as if fully set forth herein.

97.    The final rules challenged herein constitute “agency action” pursuant to 5 U.S.C.

§ 551(13) for purposes of review under the APA, 5 U.S.C. § 702.

98.    The final rules are arbitrary and capricious and therefore violate the APA, 5 U.S.C.

§ 706(2)(A).

99.    Under the APA, a court shall “hold unlawful and set aside agency action, findings, and

conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

100.   The final rules are neither reasonable nor reasonably explained.


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101.   HHS did not articulate a satisfactory explanation for its actions.

102.   The final rules adopt arbitrary tests and presumptions without a satisfactory explanation

for doing so.

103.   The final rules conflict with the plain text of the statute it purports to interpret and

implement, making them not in accordance with law.

                             VII. DEMAND FOR RELIEF

Texas respectfully requests that the Court:

   a. Declare that the 2000 Privacy Rule and the 2024 Privacy Rule violate the Administrative
      Procedure Act because they exceed statutory authority;

   b. Declare that the 2000 Privacy Rule and the 2024 Privacy Rule violate the Administrative
      Procedure Act because they are arbitrary and capricious;

   c. Vacate and set aside the 2000 Privacy Rule and the 2024 Privacy Rule and permanently
      enjoin Defendants from enforcing them;

   d. Grant Texas an award of attorneys’ fees and other litigation costs reasonably incurred in
      this action; and

   e. Grant Texas such other relief as the Court deems just and proper and as justice so requires.



Dated: September 4, 2024.                       Respectfully submitted.

KEN PAXTON                                       /s/ Amy Snow Hilton__
Attorney General of Texas                        Amy Snow Hilton
                                                 Chief, Healthcare Program Enforcement Division
BRENT WEBSTER                                    Texas Bar No. 24097834
First Assistant Attorney General                 Office of the Attorney General
                                                 P.O. Box 12548, Capitol Station
RALPH MOLINA                                     Austin, Texas 78711-2548
Deputy First Assistant Attorney General          (512) 936-1709
                                                 Amy.Hilton@oag.texas.gov
 James Lloyd
 Deputy Attorney General for Civil Litigation COUNSEL FOR THE STATE OF TEXAS




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